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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 United States of America,                  No. 19-20024

              Plaintiff,                    Hon. Gershwin A. Drain
 v.
                                            Offense:
 D-1 Naveen Prathipati,                     18 U.S.C. § 371
                                            Conspiracy to commit visa fraud and
              Defendant.                    harbor aliens for profit

                                            Maximum Penalty: 5 years

                                            Maximum Fine: $250,000

                                            Supervised Release:
                                            Not more than 3 years


             GOVERNMENT’S SENTENCING MEMORANDUM

      Defendant Naveen Prathipati is a foreign citizen who abused a student visa

program so that he could remain in the United States illegally. Moreover, he

recruited other foreign students to do the same, and in return for his recruitment

efforts, he received $15,000 in profits. Accordingly, the United States of America

respectfully recommends that the Court impose against Prathipati a sentence within

his guidelines range of 18–24 months, as calculated by the U.S. Probation

Department. Such a sentence is necessary in light of the seriousness of the offense,

the need to punish Prathipati and deter others from committing the same misconduct,
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Prathipati’s personal characteristics, and the goal of avoiding unwanted sentencing

disparities.

  I.   BACKGROUND

       Defendant Naveen Prathipati is a citizen of India—and not the United

States—who first traveled to this country on a temporary student visa known as an

F-1 visa. (PSR, p. 4 & ¶ 9). Before he could obtain his F-1 visa, Prathipati applied to

study in the United States at a university through the Student and Exchange Visitor

Program (“SEVP”), which is overseen by the Department of Homeland Security.

(Id. at ¶ 10–11). Once accepted by a university—in this case the University of

Detroit Mercy—the school issued a “Certificate of Eligibility for Nonimmigrant

Student Status,” better known as a Form I-20. (Id. at ¶¶ 10–11, 55).

       Prathipati’s Form I-20 permitted him to enter the United States, (id. at ¶ 12),

which he first did on December 28, 2013. (Id. at ¶ 48). While in the United States, he

used his Form I-20 for identification and proof of legal and academic status in the

United States, and it also allowed for him to travel abroad and return to the United

States. (Id. at ¶ 12). For his Form I-20 to remain valid, Prathipati knew that he

needed to maintain his status as a full-time student “making normal progress toward

completion of [his] course of study,” whether at his original school or any school to

which he later transferred. (Id. at ¶¶ 13–14); (see also Dkt. # 25, Plea Hrg. Tr., PgID

79, 15:18–22).


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      Prathipati’s visa and Form I-20 also permitted him to participate in curricular

practical training (“CPT”), which in essence permitted him to find gainful

employment as long as he continued to attend classes and make academic progress

toward his degree. (PSR, ¶¶ 14–15).

      From May 2017 through January 2019, undercover agents from Homeland

Security Investigations (“HSI”) posed as employees of the University of Farmington

(“the University”), located in Farmington Hills, Michigan. (Id. at ¶ 16). The

University had no instructors, no classes, and no educational activities. (Id. at ¶ 17).

Rather, it was a fictitious university used by foreign citizens as a “pay to stay”

scheme. (Id.). Under the “pay to stay” scheme, foreign citizens would enroll with the

University as “students,” but they would take no classes nor attend any educational

programs; instead, they would pay tuition so that the University would issue them

Form I-20’s that identified them as students making progress toward a degree, and if

they desired, they could also seek gainful employment through the CPT program.

(Id. at ¶¶ 17–18).

      Prathipati first learned of the University through Facebook. (Id. at ¶ 19). On

May 18, 2017, he traveled to the University and met with an undercover HSI agent

to discuss enrolling in the University without attending classes in order to

fraudulently maintain his immigration status and to obtain a fraudulent degree. (Id.

at ¶ 20). During the meeting, Prathipati acknowledged that such an arrangement was


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illegal, yet he enrolled anyway. (Id. at ¶ 24); (see also Dkt. # 25, Plea Hrg. Tr., PgID

81–83, 17:14–19:2).

      Prathipati also raised the idea of recruiting other students in return for tuition

credits at $500 per student. (PSR, ¶¶ 20, 23); (Dkt. # 25, PgID 83–84, 19:3–20:2).

Specifically, he identified and referred other foreign citizens who knowingly

enrolled with the University in order to fraudulently maintain their status. (PSR,

¶ 20). In total, Prathipati recruited at least fifteen students, and in addition to the

tuition credits he received for his efforts ($7500), he also received $7500 in cash

from the University. (Id. at ¶¶ 21–23); (Dkt. # 25, PgID 84–85, 20:11–21:2). Below,

he can be seen collecting $7500 from an HSI agent (whose image is obscured):




      Prathipati has pled guilty to conspiring to commit visa fraud (18 U.S.C.

§ 1546(a)) and harboring aliens for profit (8 U.S.C. § 1324) in violation of 18 U.S.C.

§ 371—without the benefit of a Rule 11 agreement, although the government did

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offer one. (PSR, ¶¶ 1, 6). Prathipati’s co-conspirators are the foreign citizen

“students” he recruited. (Id. at ¶¶ 21, 25); (Dkt. # 25, PgID 88–91, 24:8–27:7).

       The maximum sentence for his offense is not more than five years’

imprisonment, a maximum fine of $250,000, and an applicable term of supervised

release between one year and five years. (PSR, p. 2 & ¶¶ 60, 65, 67).

 II.   SENTENCING GUIDELINES CALCULATIONS AND § 3553(a)
       FACTORS

       In determining an appropriate sentence, the Court should use the Sentencing

Guidelines as a “starting point and the initial benchmark.” United States v. Lalonde,

509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United States, 552 U.S. 38, 49

(2007)). Indeed, a sentence within the guidelines range carries a “rebuttable

presumption of reasonableness.” United States v. Buchanan, 449 F.3d 731, 734 (6th

Cir. 2006). This is so because the guidelines “represent nearly two decades of

considered judgment about the range of sentences appropriate for certain offenses.”

(Id. at 736) (Sutton, J., concurring). In particular, the guidelines aggregate the

“sentencing experiences of individual judges, the administrative expertise of the

[Sentencing] Commission, and the input of Congress….” Id.

       Beyond the Guidelines, the Court should consider all of the factors set forth in

18 U.S.C. § 3553(a). Gall, 552 U.S. at 49–50. The § 3553(a) factors include:

       (1) the nature and circumstances of the offense and the history and
       characteristics of the defendant;
       (2) the need for the sentence imposed—
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             (A) to reflect the seriousness of the offense, to promote respect
             for the law, and to provide just punishment for the offense;
             (B) to afford adequate deterrence to criminal conduct;
             (C) to protect the public from further crimes of the defendant;
             and
             (D) to provide the defendant with needed educational or
             vocational training, medical care, or other correctional treatment
             in the most effective manner; [and]
                                      ***
      (6) the need to avoid unwanted sentence disparities among defendants
      with similar records who have been found guilty of similar conduct….

18 U.S.C. § 3553(a).

      A.     Prathipati’s Sentencing Guidelines

      The government agrees with the Probation Department that Prathipati’s total

offense level is 14 and his criminal history category is II, which results in a

guidelines range of 18–24 months. (PSR, ¶ 61); (see also id. at ¶¶ 31–39, 40–43).

      Prathipati’s conduct in this case demonstrates why his guidelines of 18–24

months are appropriate. He may suggest his role in committing fraud and harboring

illegal aliens for profit stemmed from his attempt to help foreign national students

obtain an education—including for some students who sought to transfer from

schools that were in danger of losing their accreditation. 1 But his and his students’


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  These schools cater to “students” who want to exploit our foreign student
education program. While they are the exception rather than the rule, unfortunately
they do exist. Some of the “pay to stay” schools located around the United States that
have been exposed over the years are: Prodee University; Neo-America Language
School; Walter Jay M.D. Institute; the American College of Forensic Studies; Likie
Fashion and Technology College; Tri-Valley University; Herguan University; the
University of Northern Virginia; and the American College of Commerce and
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aims were not so noble.

      Their true intent could not be clearer. While “enrolled” at the University, one

hundred percent of the foreign citizen students never spent a single second in a

classroom. If it were truly about obtaining an education, the University would not

have been able to attract anyone, because it had no teachers, classes, or educational

services. Instead, Prathipati and the foreign nationals he recruited wanted to commit

a fraud upon the United States. At the outset, Prathipati informed his recruits there

would be no classes and no education. The “students” willingly paid thousands of

dollars to the undercover agents so that they could obtain fraudulent documents

(Form I-20’s) that would allow them to illegally stay, re-enter, and work in the

United States.

      But Prathipati’s conduct was much more offensive than that of his recruits.

Once he knew exactly what the University was—a fraud—he, not the University,

raised the idea of recruiting other students who would be willing to commit fraud.

He did so in order to make money. Specifically, in exchange for finding and

enlisting others to remain in the United States illegally, he received $15,000 in cash

and tuition credits. Hence, his illegal arrangement with the University proved to be

quite profitable for him.

Technology. See also
https://www.buzzfeednews.com/article/mollyhensleyclancy/inside-the-school-that-
abolished-the-f-and-raked-in-the-cash (last visited June 17, 2019) (describing the
“educational” practices of Northwestern Polytechnic University).
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      Therefore, Prathipati’s conduct makes a guidelines sentence appropriate, and

there are no legitimate reasons to vary below that range. Nonetheless, under our

immigration laws, Prathipati must be sentenced to at least 12 months in custody to

permanently bar him from re-entering the United States. Such a bar is certainly

fitting in this case, since Prathipati intentionally exploited our student visa system

for his own financial gain. He did so with the full knowledge that most of his

customers/“students” wanted to illegally enter the United States job market or do

whatever they wanted to do while illegally staying in the United States. As a direct

result of his actions, his recruited students—who were illegally working in the

United States—deprived otherwise qualified individuals from obtaining

employment or training.

      B.     Sentencing Reform Act factors

             1.     Seriousness of the offense

      Prathipati’s decision to conspire to harbor aliens and commit visa fraud is a

serious offense, as indicated by Congress’s decision to authorize up to five years in

prison for the offense. See 18 U.S.C. § 371; (PSR, ¶ 60). Specifically in this case, the

F-1 student visa program is designed to promote and encourage foreign students to

study at American institutions. (PSR, ¶¶ 9–13). Once they finish their course of

study, the students must leave within 15 days. (Id. at ¶ 13). The idea is that the

students return to their native countries armed with new knowledge and skills.


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Accordingly, the F-1 student visa program is not a naturalization program—i.e., it is

not intended to be a path to obtaining U.S. citizenship. (See Dkt. # 25, Plea Hrg. Tr.,

PgID 78–79, 14:25–15:3).

      Prathipati and his co-conspirators (his recruited students) ignored the purpose

of the F-1 student visa program. In fact, Prathipati has remained in the United States

since December 2013, (PSR, ¶ 48), totaling over five years in the United States

before he was arrested on January 31, 2019. (Id. at ¶ 3). During those five years, in

particular during his time with the University, he obtained employment at various

companies at pay rates ranging from $45 an hour to $70 an hour. (Id. at ¶ 56). Those

jobs could have gone to U.S. citizens or to other foreign students and employees who

were in the United States on valid visas.

      In addition, immigration and visa programs have been hot-button topics in the

United States for years and national scrutiny has only been increasing. Fairly or

unfairly, Prathipati’s conduct casts a shadow on the foreign-student visa program in

general, and it raises questions as to whether the potential for abuse threatens to

outweigh the benefits. Thus, this factor favors a prison sentence within the

guidelines range of 18–24 months.




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              2.     Deterrence, protection of the public, and nature and
                     circumstances of the offense

       If he receives a guidelines sentence, Prathipati will be deported once he serves

 his sentence, and he will be permanently barred from returning to the United States

 in the future. And even without a permanent bar from a guidelines sentence,

 Prathipati will likely be deported, and there is no way to know whether he will return

 to the United States. Therefore, personal deterrence is not applicable here.

 Nonetheless, it should be noted that leniency has not had the desired effect on

 Prathipati. In November 2015, he was granted a deferred guilty plea for retail fraud

 under the Youthful Training Act for attempting to steal clothes, but he violated

 probation by failing to report and a warrant for his arrest issued. (PSR, ¶ 40). In June

 2017, Prathipati was accepted into a diversion program after he failed to return a

 rental car on time, (id. at ¶ 44), but he committed that offense around the same time

 he began recruiting students for the University. (Id. at ¶ 20). Thus, it seems

 Prathipati learns the wrong lesson from leniency.

       While personal deterrence may not be achievable here, the Court can deter

 others from committing similar crimes. According to an SEVP summary issued by

 U.S. Immigration and Customs Enforcement in November 2016, 1.23 million

 foreign students were studying in the United States on student visas in 2016, and

 8697 schools were certified to enroll international students.

 https://www.ice.gov/doclib/sevis/pdf/byTheNumbersDec2016.pdf (p. 2). This
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 action and the related actions—19-cr-20025 and 19-cr-20026—have garnered

 considerable media attention since the indictments were unsealed. Presumably, the

 sentences in this case and the related cases will also receive media focus. As a result,

 strong sentences against Prathipati and the other defendants would have a

 considerable chance of deterring other foreign students—and some schools—from

 abusing the F-1 student visa program. In addition, as indicated by the success

 Prathipati and the other defendants had in recruiting students to the University, at the

 very least their vast network of students and potential students could be deterred by

 guidelines sentences.

       In light of the above, a deterrent prison sentence between 18 and 24 months is

 appropriate.

                3.   Characteristics of the defendant

       Prathipati indicated he has a loving and supportive family, both in India and in

 the United States. (PSR, ¶ 47). He attended a university in India and obtained a

 degree in engineering, and he also had the opportunity to earn a Master’s degree

 from Wayne State University, although he ultimately failed to graduate. (Id. at ¶ 53).

 Thus, he has received support, love, and opportunities that many defendants who

 appear before this Court have not, and yet he still chose to commit the instant

 offense. As a result, Prathipati’s personal characteristics counsel that a prison

 sentence of 18–24 months is appropriate.


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              4.     Need to avoid sentencing disparities

       The Supreme Court reiterated in Booker that reducing sentencing disparities

 was Congress’s basis statutory goal in passing the Federal Sentencing Guidelines.

 United States v. Booker, 543 U.S. 220, 250, 264 (2005). Thus, calculating and

 analyzing the guidelines is the primary driver in avoiding unwanted sentencing

 disparities. Id. at 264 (“The district courts, while not bound to apply the Guidelines,

 must consult those Guidelines and take them into account when sentencing.”).

 Indeed, by correctly calculating and considering the Sentencing Guidelines, the

 Court automatically gives “significant weight and consideration to the need to avoid

 unwarranted disparities.” Gall v. United States, 552 U.S. 38, 54 (2007).

       Therefore, solely with respect to Prathipati, this factor favors a prison

 sentence within the guidelines range of 18–24 months. However, the Court should

 also be mindful of the seven other recruiters charged in the related cases,

 19-cr-20025 and 19-cr-20026, for whom it will have to impose sentences. In

 addition to Prathipati, those recruiters helped enlist hundreds of foreign citizens to

 enroll at the University with the goal of fraudulently maintaining their status in the

 United States. See United States v. Kakireddy et al., No. 19-cr-20026 (E.D. Mich.)

 (Dkt. # 1, PgID 9). Because Prathipati will be the first of the eight defendants to be

 sentenced, his sentence will be the benchmark against which the seven other

 sentences are measured.


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III.   CONCLUSION

       For the reasons stated above, the government recommends a sentence within

 Prathipati’s guidelines range of 18–24 months.


                                          Respectfully submitted,

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 Dated: June 17, 2019




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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2019, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system, which will provide

 notification to all counsel of record.




                                               /s/Brandon C. Helms
                                               Brandon C. Helms
                                               Assistant United States Attorney




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